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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                  PlAINTIFF

v.                        CASE NO. 4:14CR00010-09-JLH

IVORY LAMONT JOHNSON                                                     DEFENDANT

                                       ORDER

       The Court has requested and received a transcript of the detention hearing held on

April 10, 2014. The Clerk of the Court is hereby directed to issue a check to Robin

Warbritton, Transcriptionist, in the amount of $161.95.     A copy of the invoice for

transcription services is attached.

       IT IS SO ORDERED this 24th day of April, 2014.
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                                         ORIGINAL
                                          INVOICE



TO:                   UNITED STATES DISTRICT COURT
                      for the Honorable J. Leon Holmes, U.S. District Judge

INVOICE DATE:         April22, 2014                INVOICE NO.: USDC12-00I-04-2014-004

TRANSCRIPT OF:        Detention Hearing

Case Name:            USA v. Ivory Lamont Johnson

Case No.:             4:14-CR-00010-09-JLH

Hearing Date:          4/10/2014

Presiding Judicial Officer:   Honorable Beth Deere

Transcript Type: 7-day Expedited
Transcript Order Date: 4/15/2014
Transcript Order and Recording Received by Transcriber Date: 4/17/2014
Transcript Order Due Date: 4/24/2014 (7 days from receipt of recording & transcript order)
Transcript Completed/Delivery Date: 4/23/2014 (Via Courier to Ms. Suzy Flippen)



       41 pages@ $3.95 per page (7 day expedited rate)                    $161.95

                              TOTAL DUE                                   $161.95


REMIT TO:
Robin Warbritton
20 Liberty Road
Vilonia, AR 72173
(501) 796-6560
TIN:*****0725
rwarbritton@yahoo.com
Contract No: USDC-ARE-12-00 1
